Case 2:18-cv-00053-JRG Document 134 Filed 07/29/19 Page 1 of 4 PageID #: 2651



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

IMPLICIT, LLC,                                  §
                                                §
      Plaintiff,                                §         Civil Action No. 2:18-cv-53-JRG
                                                §                   LEAD CASE
       v.                                       §
                                                §           JURY TRIAL DEMANDED
NETSCOUT SYSTEMS, INC.,                         §
                                                §
      Defendant.                                §



                    JOINT MOTION TO AMEND EIGHTH AMENDED
                        DOCKET CONTROL ORDER (DKT. 133)



       COME NOW JOINTLY Plaintiff Implicit, LLC (“Implicit”) and Defendants NetScout

Systems, Inc. (“NetScout”) and Sandvine Corporation (“Sandvine”) respectfully move to

amend the Court’s Eighth Amended Docket Control Order dated July 17, 2019 (Dkt. 133). In

support thereof, the parties would respectfully show the Court as follows as providing good cause:

       The parties seek a Ninth Amended Docket Control Order amending the deadlines for Fact

Discovery, Disclosures for Expert Witnesses by the Party with the Burden of Proof, Reducing

Prior Art References and Obviousness Combinations, Expert Discovery, and Dispositive Motions.

       The requested amendment does not affect the trial date, nor any date after October 8, 2019.

The parties request the modification to the schedule for fact discovery not for purposes of delay,

but to complete four remaining depositions. Good cause exists for the parties’ requests for the

remaining schedule modifications, in light of the date of the last deposition and the continuing

production of certain documents by the Parties. Specifically, the following depositions will occur

on the following dates outside of the presently scheduled date for the close of discovery:


Joint Motion to Amend 8th Amended DCO                                                           1
Case 2:18-cv-00053-JRG Document 134 Filed 07/29/19 Page 2 of 4 PageID #: 2652



           Samir Marwaha, 30(b)(1) witness and Chief Marketing Officer of Sandvine, on July
            31.
           Richard Deggs, 30(b)(1) witness and Chief Financial Officer of Sandvine, on July 31.
           John Curtin, 30(b)(6) witness for NetScout, on August 6.
           Edward Balassanian, sole 30(b)(6) witness for Plaintiff, on August 6-7.

        In addition, Plaintiff, Sandvine, and NetScout are each still in the process of producing a

small quantity of documents pertaining to specific issues. Therefore, it is necessary to move the

close of fact discovery and subsequent dates to account for these circumstances.

        The proposed modifications are detailed in the following chart:

    Current Deadline         Proposed Deadline                            Event

  September 24, 2019         September 28, 2019                  *File Dispositive Motions


  September 18, 2019         September 20, 2019           Deadline to Complete Expert Discovery


   September 6, 2019         September 12, 2019            Serve Disclosures for Rebuttal Expert
                                                                        Witnesses


                                                      Serve Disclosures for Expert Witnesses by the
     August 9, 2019            August 13, 2019
                                                             Party with the Burden of Proof


                                                      Deadline to Reduce Prior Art References and
     August 9, 2019            August 13, 2019
                                                              Obviousness Combinations.


      July 30, 2019            August 7, 2019             Deadline to Complete Fact Discovery and
                                                             File Motions to Compel Discovery


        WHEREFORE, PREMISES CONSIDERED, Implicit, NetScout, and Sandvine

respectfully pray that the Court enter the attached Ninth Amended Docket Control Order, and

for all other relief to which they are justly entitled.




Joint Motion to Amend 8th Amended DCO                                                               2
Case 2:18-cv-00053-JRG Document 134 Filed 07/29/19 Page 3 of 4 PageID #: 2653



 Dated: July 29, 2019                    Respectfully submitted,

 By: /s/ Mark C. Lang                    By: /s/ Brandon C. Martin

 Abran J. Kean (CO Bar 44660)            Spencer Hosie, pro hac vice,
 ERISE IP, P.A.                          (CA Bar No. 101777)
 5600 Greenwood Plaza Blvd., Suite 200   shosie@hosielaw.com
 Greenwood Village, CO 80111             Diane S. Rice, pro hac vice,
 Telephone: (913) 777-5600               (CA Bar No. 118303)
                                         drice@hosielaw.com
 Eric A. Buresh (KS Bar 19895)           Brandon C. Martin, pro hac vice,
 Mark C. Lang (KS Bar 26185)             (CA Bar No. 269624)
 ERISE IP, P.A.                          bmartin@hosielaw.com
 7015 College Blvd., Suite 700           Darrell Rae Atkinson, pro hac vice,
 Overland Park, Kansas 66211             (CA Bar No. 280564)
 Telephone: (913) 777-5600               datkinson@hosielaw.com
 Facsimile: (913) 777-5601               Francesca M. S. Germinario, pro hac vice,
 eric.buresh@eriseip.com                 (CA Bar No. 326208)
 abran.kean@eriseip.com                  fgerminario@hosielaw.com
 mark.lang@eriseip.com                   HOSIE RICE LLP
                                         600 Montgomery St., 34th Floor
 Melissa Smith                           San Francisco, CA 94111
 Texas State Bar No. 24001351            415.247.6000
 melissa@gillamsmithlaw.com              Fax: 415.247.6001
 GILLAM & SMITH, L.L.P.
 303 South Washington Avenue             William E. Davis, III (TX Bar No. 24047416)
 Marshall, Texas 75670                   bdavis@bdavisfirm.com
 Telephone: 903-934-8450                 Christian J. Hurt (TX Bar No. 24059987)
 Facsimile: 903-934-9257                 churt@bdavisfirm.com
                                         Edward Chin (Of Counsel)
 Counsel for Defendants                  (TX Bar No. 50511688)
 NetScout Systems, Inc. and              echine@bdavisfirm.com
 Sandvine Corporation                    Debra Coleman (Of Counsel)
                                         (TX Bar No. 24059595)
                                         dcoleman@bdavisfirm.com
                                         Ty William Wilson
                                         (TX Bar No. 24106583)
                                         twilson@davisfirm.com
                                         THE DAVIS FIRM, PC
                                         213 N. Fredonia Street, Suite 230
                                         Longview, Texas 75601
                                         Telephone: (903) 230-9090
                                         Facsimile: (903) 230-9661

                                         Counsel for Plaintiff Implicit, LLC




Joint Motion to Amend 8th Amended DCO                                                  3
Case 2:18-cv-00053-JRG Document 134 Filed 07/29/19 Page 4 of 4 PageID #: 2654



                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document is being filed electronically in

compliance with Local Rule CV-5(a). As such, this document is being served on all counsel who

are deemed to have consented to electronic service. Local Rule CV-5(a)(3)(V). Pursuant to

Federal Rule of Civil Procedure 5(d) and Local Rule CV-5(d) and (e), any counsel of record not

deemed to have consented to electronic service will be served with a true and correct copy of the

foregoing by email on this July 29, 2019.

                                             /s/ Brandon C. Martin
                                             Brandon C. Martin




Joint Motion to Amend 8th Amended DCO                                                            4
